EXHIBIT 1




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                          UNITED STATES DISTRICT COURT
                       WESTERN DISTRICT OF NORTH CAROLINA
                               CHARLOTTE DIVISION
                            CIVIL ACTION NO. 3:21-cv-290

  MIRANDA HATHAWAY, by and through
  biological mother, natural guardian, next
  friend and guardian ad litem ANGELA
  HATHAWAY, and on behalf of herself and
  all others similarly situated,

                       Plaintiff,
   v.

  SMALLCAKES STEELE CREEK, LLC,
  SMALLCAKES BALLANTYNE, LLC, IAN
  BOWLEG and AYANNA BOWLEG,

                     Defendants.




                       NOTICE OF COLLECTIVE ACTION LAWSUIT

TO:       All current and former non-exempt hourly tipped employees who are or were
          employed by Smallcakes Steele Creek, LLC, Smallcakes Ballantyne, LLC, Ian
          Bowleg and/or Ayanna Bowleg beginning June 16, 2018 to the present.

           I. INTRODUCTION

        A lawsuit, captioned Miranda Hathaway by and through biological mother, natural
guardian, next friend and guardian ad litem Angela Hathaway, and on behalf of herself and all
others similarly situated Smallcakes Steele Creek, LLC, Smallcakes Ballantyne, LLC, Ian Bowleg
and/or Ayanna Bowleg, has been filed in the United States District Court for the Western District
of North Carolina, Case No. 3:21-cv-290. You are receiving this Notice because you are “similarly
situated” to the Plaintiff and are eligible to join this lawsuit. This letter advises you how this lawsuit
may affect your rights and instructs you on how to join if you choose.

    II.         DESCRIPTION OF THE LAWSUIT

       On June 16, 2021, Plaintiff filed this lawsuit alleging Smallcakes Steele Creek, LLC,
Smallcakes Ballantyne, LLC, Ian Bowleg and/or Ayanna Bowleg violated the FLSA by regularly


                                                    2
keeping all credit card tips.

     III.            WHO CAN JOIN THIS LAWSUIT

            Plaintiff has filed this lawsuit on behalf of:

            1.   herself; and
            2.   all non-exempt hourly tipped employees who are or have been, at any time, employed
                 by Smallcakes Steele Creek, LLC, Smallcakes Ballantyne, LLC, Ian Bowleg and/or
                 Ayanna Bowleg beginning June 16, 2018 to the present.

     IV.             YOUR RIGHT TO PARTICIPATE IN THIS LAWSUIT

       You may join this lawsuit by completing and sending a signed copy of the attached
“Consent to Join” form to Miranda Hathaway’s lawyer via e-mail, facsimile or U.S. mail to the
following:

                                     GESSNERLAW, PLLC
                                  ATTN: Smallcakes Lawsuit
                                   602 East Morehead Street
                                      Charlotte, NC 28202
                           Phone: (704) 234-7442; Fax: (980) 206-0286
                             Email to: michelle@mgessnerlaw.com
If you choose to join the lawsuit, this form must be returned on or before ___, 2021.

V.               EFFECT OF JOINING THIS LAWSUIT

         If you choose to join in this lawsuit, you will be bound by the judgment or settlement,
whether it is favorable or unfavorable. The attorneys representing you in this lawsuit are being
paid on a contingency fee basis, which means that if there is no recovery, there will be no attorneys’
fee. If there is a recovery, the attorneys representing you will receive a part of any settlement
obtained or money judgment entered in favor of all members of the class. If you join the lawsuit,
you will designate Miranda Hathaway as your agent to make decisions on your behalf concerning
the litigation, the method and manner of conducting this litigation, the entering of an agreement
with Miranda Hathaway’s counsel concerning attorney’s fees and costs, and all other matters
pertaining to this lawsuit. These decisions and agreements made and entered into by Tiffany Wade
will be binding on you if you join this lawsuit.

     VI.          NO LEGAL EFFECT IN NOT JOINING THIS LAWSUIT

       If you choose not to join this lawsuit, you will not be affected by any judgment or settlement
rendered in this case. If you choose not to join in this lawsuit, you are free to file, or not to file,


                                                       3
your own lawsuit. The statute of limitations will continue to run on your claim until you join this
lawsuit or file your own.

   VII.       NO RETALIATION PERMITTED

       If you choose to join this lawsuit, federal law prohibits Smallcakes Steele Creek, LLC,
Smallcakes Ballantyne, LLC, Ian Bowleg and Ayanna Bowleg from retaliating against you or in
any manner discriminating against you because you have done so.

   VIII.       YOUR LEGAL REPRESENTATIVE IF YOU JOIN THIS LAWSUIT

If you join this lawsuit, counsel for Miranda Hathaway listed below will represent your interests:

                                 L. Michelle Gessner
                                GESSNERLAW, PLLC
                              602 East Morehead Street
                                 Charlotte, NC 28202
                      Phone: (704) 234-7442; Fax: (980) 206-0286
                        Email to: michelle@mgessnerlaw.com


   IX.       FURTHER INFORMATION

      Further information about the lawsuit or this notice may be obtained by contacting Miranda
Hathaway’s attorney at the address or phone number provided above.

*You must timely return this form to preserve your rights.




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